


  DECISION
 

  PER CURIAM:
 

  ¶ 1 Jason Aron Presley appeals the district court's order entered on November 1, 2010. This matter is before the court on a sua sponte motion for summary disposition. We dismiss the appeal for lack of jurisdiction.
 

  ¶ 2 Rule 4 of the Utah Rules of Appellate Procedure requires that a notice of appeal must be filed within thirty days of the entry of the final order or judgment appealed. See Utah R.App. P. 4(a). If a notice of appeal is not timely filed, this court lacks jurisdiction to consider the appeal. See Serrato v. Utah Transit Auth., 2000 UT App 299, ¶ 7, 13 P.3d 616. If this court lacks jurisdiction over an appeal, we are required to dismiss the appeal. See Varian-Eimac, Inc. v. Lamoreaux, 767 P.2d 569, 570 (Utah Ct.App.1989).
 

  ¶ 3 On November 1, 2010, the district court entered a final order dismissing the underlying matter. On December 8, 2010, Presley filed his notice of appeal in the district court. Because the notice of appeal was not timely filed, this court lacks jurisdiction to consider the appeal. See Serrato, 2000 UT App 299, ¶ 7, 13 P.3d 616. Thus, we are required to dismiss the appeal for lack of jurisdiction. See Varian-Eimac, Inc., 767 P.2d at 570.
 

  1 4 Accordingly, the appeal is dismissed.
 
